Case 4:21-cv-02155-YGR   Document 617-7   Filed 11/29/23   Page 1 of 45




                  Exhibit 47

REDACTED VERSION
 Case 4:21-cv-02155-YGR          Document 617-7    Filed 11/29/23   Page 2 of 45




                       UNITED STATES DISTRICT COURT
                     NORTHERN DISTRICT OF CALIFORNIA
                            OAKLAND DIVISION



In re Google RTB Consumer Privacy
Litigation,                                   Case No. 4:21-cv-02155-YGR-VKD



This document applies to: all actions




           EXPERT CLASS CERTIFICATION REBUTTAL REPORT OF
                     PROFESSOR NEIL RICHARDS




                                 NOVEMBER 29, 2023




                                REDACTED VERSION




                                          i
 Case 4:21-cv-02155-YGR        Document 617-7       Filed 11/29/23    Page 3 of 45




                            TABLE OF CONTENTS


                                                                                     Page
I.     Background……………………………………………………………….…….                                         1
II.    Executive Summary of Rebuttal Opinions……………………………………..                         3
III.   Opinions………………………………………………………………………...                                         4
       A. Professor Hanssens’ Critiques of My Work Lack Support
          and Are Unreliable…………………………………………………………..                                  4
          1.   Professor Hanssens Lacks an Understanding
               of My Opinions………………………………………………………..                                  6
          2.   The Historical Methods on Which I Base My Expert
               Opinions and Testimony Are Generally Accepted,
               Informative, and Reliable……………………………………………..                           10
          3.   The Hanssens Surveys are Methodologically Flawed –
               And Admittedly Do Not Even Analyze Privacy Norms
               or Expectations………………………………………….……………..                                15
          4.   The Other Critiques in the Hanssens Report Do Not
                Stand Up to Scrutiny……………………………………………………                              21
       B. Mr. Deal Lacks the Qualifications to Assess My Opinions –
          Or to Offer His Own……………………………………………….…….….                                 26
       C. Google’s Corporate Witness, Suneeti Vakharia, Agrees
          With My View That Google Does Not Disclose Google’s
          RTB Auctions To Its Account Holders Or Provide Them
          With Any Mechanism To Agree To Having Their
          Personal Information Shared Or Sold In RTB……………………………...                    34
       D. Third-Party Website Information Submitted By Google
          Does Not Disclose RTB Nor Seek Consent For Google To
          Engage In RTB……………………………………………………………….                                      39




                                          ii
     Case 4:21-cv-02155-YGR           Document 617-7         Filed 11/29/23     Page 4 of 45




I.     Background

       1.      Counsel for plaintiffs in this action (“Counsel”) retained me to render opinions

concerning the issues of privacy and of Google’s conduct at issue in this litigation.

       2.      On July 14, 2023, I submitted a report in which I analyzed issues related to Google’s

Terms of Service, Privacy Policies, disclosures, and data use and sharing practices; my

understanding of the nature and volume of information about or associated with U.S. Google account

holders that Google offers for sale or sells to third-party organizations in the Google RTB auctions;

and the historical and cultural foundations that underlie societal norms in the United States

(“Richards Report”).

       3.      The Richards Report, and the opinions expressed therein, are intended to be helpful

to the Court in understanding societal privacy norms and how those norms are implicated by the

actions Google takes in its RTB auction. In rendering those opinions, I applied my 25 years of

professional research, instruction, and authorship on issues such as the historical importance of

privacy and the continued importance of societal privacy norms, privacy rights, and privacy

protections in the field of informational privacy.

       4.      My detailed CV was included as Attachment A to the Richards Report. My detailed

CV was included as Attachment A to the Richards Expert Report. Of particular note:

       •    I earned a Master’s Degree in Legal History at the same time I earned my Juris
            Doctor Degree from the University of Virginia.

       •    I clerked for Chief Justice William H. Rehnquist of the United States Supreme

            Court and Judge Paul Niemeyer of the United States Court of Appeals for the

            Fourth Circuit.

       •    I am the Koch Distinguished Professor in Law at Washington University in St.

            Louis School of Law, and the Director of the University’s Cordell Institute, an

            endowed center devoted to questions of privacy, information and health policy.




                                                     1
     Case 4:21-cv-02155-YGR           Document 617-7         Filed 11/29/23      Page 5 of 45




       •    I am an affiliate scholar with the Stanford Center for Internet and Society, the
            Yale Information Society Project, and the Berkman-Klein Center for Internet and
            Society.
       •    I serve as a Fellow with the Center for Democracy and Technology, and as an
            elected member of the American Law Institute.
       •    I have authored dozens of academic articles (and many other popular essays) on
            the history, theory, meaning, and contemporary state of U.S. and transatlantic
            privacy, security, and consumer data protection, having earned the distinction of
            being one of the top five most-cited scholars in these fields.1
       •    I am the author of two books on privacy, Intellectual Privacy (2015), and Why
            Privacy Matters (2021), both of which were peer reviewed and accepted for
            publication by Oxford University Press.
       •    I have testified before the U.S. Congress on the topic of privacy law; twice spoken
            before the Federal Trade Commission (“FTC”) regarding consumer data
            protection as well as the “notice and choice” regime governing consumer consent
            to data practices; and served as a testifying witness in the Irish High Court on
            behalf of the Irish government as an expert on U.S. privacy law in Data Protection
            Commission v. Facebook Ireland Limited, Maximilian Schrems (C-311/18)
            (“Schrems II”), a seminal privacy case.

       5.      Counsel has asked me to review the Expert Reports of Professor Dominique
Hanssens, Ph.D. and Bruce Deal, which I understand Google submitted to the Court on September

29, 2023, and rebut any points which I believe to be incorrect and/or not relevant to the question of

whether the privacy claims in this case are appropriate for class-wide treatment.

       6.      I was also asked to review a September 29, 2023 declaration of Google employee

Suneeti Vakharia, and a September 29, 2023, declaration of an employee of a third-party vendor



1
  10 Most-Cited Law & Technology Scholars in the US, 2016-2020, BRIAN LEITER’S LAW SCHOOL
REPORTS,         https://leiterlawschool.typepad.com/leiter/2021/09/10-most-cited-law-technology-
scholars-in-the-us-2016-2020.html. See also Fred R. Shapiro, The Most-Cited Legal Scholars
Revisited, 88 U. CHI. L. REV. 1595 (2021).


                                                   2
      Case 4:21-cv-02155-YGR              Document 617-7          Filed 11/29/23      Page 6 of 45




hired by Google, Hunter Hanzarik, and also rebut any portions of those materials which I believe

are incorrect and/or not relevant to the question of whether the privacy claims in this case are

appropriate for class-wide treatment.

        7.         I am being compensated for my work on this report at the rate of $750/hour. My

compensation does not depend upon the outcome of the case. In the event of any recovery in this

case, I understand that I will be excluded from the definition of any proposed or certified class and

consent to such exclusion.

        8.         In preparing this rebuttal report, I relied upon the materials cited herein and listed in

Appendix A, as well as the materials I considered in drafting the opening Richards Report and which

are listed in Appendix B of that document. As with the Richards Report (ECF 545-9), I applied my

knowledge and expertise as a trained legal historian, researcher, and scholar on U.S. societal privacy

norms, privacy rights, and privacy protections in the information privacy field in forming my

opinions here.

        9.         This rebuttal report has been prepared for purposes of this case only. It may not be

used for any other purpose.

II.     Executive Summary of Rebuttal Opinions

        10.        This section offers an executive summary of each of the opinions proffered in this

rebuttal report.
        11.        As described below in Section III.A, I offer a rebuttal to Prof. Hanssens’ expert report.

Prof. Hanssens is a marketing expert who admitted at deposition that he has no training or

background in historical privacy norms and is not an expert on privacy issues presented by the

technology at issue in this case. It is my opinion that in my field, such a critique from Prof. Hanssens

would not be accepted as reliable.

        12.        As described in Section III.B, I offer a rebuttal to certain opinions in the expert report

of Google’s expert Bruce Deal. Mr. Deal is an economic expert (not a privacy expert), retained to

comment on the expert reports of two of Plaintiffs’ experts (Professor Zeithammer and Mr. Regan)
“to assess whether Plaintiffs’ Experts have offered reliable class-wide methodologies for

                                                       3
       Case 4:21-cv-02155-YGR          Document 617-7         Filed 11/29/23      Page 7 of 45




calculating” damages. I offer no rebuttal to Mr. Deal’s economic opinions, but unfortunately Mr.

Deal strayed beyond his assigned role and also critiqued my expert privacy report. I therefore discuss

below why privacy experts would consider Mr. Deal unqualified to offer privacy opinions, and also

rebut his conclusions on substance.

         13.     As described in Section III.D, Plaintiffs recently deposed Google’s current Director

of Google’s Product Management on the Trust, Transparency & Consent team, Suneeti Vakharia, in

her capacity as a 30(b)(6) corporate representative. I reviewed the transcript of her deposition and

was pleased to see that in several places, she was forthright and confirmed two important conclusions

in my initial Richards Expert Report. I discuss below how she confirmed my conclusions. Because

her deposition took place after I submitted the initial Richards Expert Report, the transcript was

unavailable at that time.

         14.     Finally, as described in Section III.E, Google provided more than 60 exhibits

(printouts of various privacy policies and terms of service on first-party websites, such as

www.nytimes.com), attached to the declaration of Mr. Hanzarik, in support of its opposition to

Plaintiffs’ motion for class certification. Google advances several arguments regarding the import of

these documents whether they bear on the conclusions in the Richards Report. They do not – and

indeed, not a single one of the Hanzarik documents (selected by Google counsel, not Mr. Hanzarik,

as he admitted at deposition) even mentions Google’s RTB auction or discloses that Google might
be selling or sharing personal information to third parties in violation of its contracts with consumers.

Section III.E. below rebuts Google’s position more fully.

III.     Opinions

         A.      Professor Hanssens’ Critiques of My Work Lack Support and Are Unreliable

         15.     Prof. Hanssens states that he was retained by Google to design and conduct four

online surveys that purport to glean information about Google account holders’ knowledge of display

advertising, and their experience with and exposure to it.2 He also states he was asked by Google to


2
    Hanssens Rep., ¶ 11, 15.

                                                   4
       Case 4:21-cv-02155-YGR           Document 617-7         Filed 11/29/23      Page 8 of 45




“[e]valuate Prof. Richards’ claims involving expectations of members of the Proposed Class about

online privacy and the methodology [Prof. Richards] used to reach his conclusions.”3 I respond to

each of these matters, in reverse order, below.

                 1.     Professor Hanssens Lacks an Understanding of My Opinions

          16.    It is my opinion that Prof. Hanssens is not qualified to assess the validity of the

Richards Report, the opinions I relate there, or the methodology I used to reach those opinions,

because he is not a historian, researcher, or privacy scholar, and has no expertise or background in

privacy or the information privacy field.

          17.    It is normal academic practice for scholars, regardless of discipline, to stay within the

bounds of their methodological training, scholarship, and experience. In my initial report, as here, I

strive to stay within the bounds of my expertise, knowledge and qualifications as a trained historian,

legal scholar, and privacy expert to provide historical and societal context, background and

understanding on the concepts of privacy and data privacy, and how these concepts may be

considered by the trier of fact in reaching the ultimate questions in the litigation.

          18.    Because quantitative marketing studies of consumers are not relevant to an objective

“reasonable consumer” test used by California, this case does not require a survey to reach my

conclusions. I did not attempt to construct such as survey as part of my expert engagement here

because one is not necessary.
          19.    Instead, I undertook a qualitative, historical study of societal privacy norms,

grounded in historical and academic literature, supplemented by research and analysis of

informational privacy practices and laws (and the societal values expressed in those laws), and a

review of the materials produced by Google and plaintiffs’ technical experts in this case. And, in

formulating my opinions, I applied the scholarly methods I was trained in, peer reviewed in when

being hired, receiving tenure, and then further promotion to a chaired professorship and then a

distinguished chair, and that I continue to use in my scholarship, teaching, and training today. This


3
    Id., ¶ 11.

                                                    5
       Case 4:21-cv-02155-YGR          Document 617-7         Filed 11/29/23      Page 9 of 45




method involves the critical use of available documentary evidence, the development of theories

supported by the evidence, the citation of sources to show authority and permit reconstruction, and

examination and testing of those findings and arguments in the light of real-world events, checking

and contextualizing my findings by comparison to related academic research, and the conclusions

of others trained in and knowledge of the subject area of inquiry. Historians call this process “the

historical method” – it is the academic and scholarly method in which I was trained, and the method

I use when producing my scholarship and when teaching, training and mentoring others.4

         20.    Respectfully, while I stayed in my academic and scholarly lane to offer a historical

perspective of recognized U.S. societal privacy and data privacy norms, Prof. Hanssens in his

critique of my methods and conclusions does not.

         21.    Prof. Hanssens is not an historian. Prof. Hanssens is a retired distinguished research

professor of marketing at UCLA Anderson School of Management, and a self-acknowledged expert

in econometrics as applied to marketing.5 He is frequently retained as a paid expert in litigation,

testifying in roughly ten to twelve matters a year.6 He is by his own admission not an historian.7 His

C.V. contains no reference to historical training, expertise in historical analysis, or academic

scholarship, intellectual focus or scholarly interest in history or its academic discipline. He has not

written any published historical works, nor engaged in any peer-reviewed analysis of history or

historical societal norms.
         22.    Prof. Hanssens is not a privacy expert. Prof. Hanssens also appropriately

acknowledges he also has no expertise in privacy, informational privacy, societal privacy norms, or

4
 There are numerous books written on the historical method by scholars from around the world, see,
e.g., R.G. COLLINGWOOD, THE IDEA OF HISTORY (1946); E.H. CARR, WHAT IS HISTORY? (1961);
MICHAEL J. SALEVOURIS & CONAL NURAY, THE METHODS AND SKILLS OF HISTORY (1st ed. 1979;
4th ed. 2015); MARTHA HOWELL & WALTER PREVENTER, AN INTRODUCTION TO HISTORICAL
METHODS (2001).
5
    Hanssens Dep. at 9:15-20.
6
    See Hanssens Report, Appx. B.
7
 Id. at 9:25-10:2 (“Q. You are not an historian? A. Historian? I use a lot of historical data but I would
not call myself a historian.”)

                                                   6
      Case 4:21-cv-02155-YGR           Document 617-7        Filed 11/29/23      Page 10 of 45




the legal and regulatory protections related to privacy, generally, or to informational privacy and data

privacy, specifically. His C.V. contains no reference to training, expertise, academic scholarship,

intellectual focus or scholarly interest in privacy or any legal or academic discipline related to

privacy.

          23.    Prof. Hanssens has not written any published works on privacy, nor engaged in any

peer-reviewed analysis of privacy, information privacy, data privacy, or the historical societal norms

related to privacy. He does not acknowledge ever having read any regulatory agency studies about

Google RTB, or its implications on consumers’ data security and data privacy.8

          24.    When asked at deposition whether he is a privacy expert, Prof. Hanssens conceded

that he is not.9 He also acknowledged that he is not an information technology expert.10 He struggled

to answer deposition questions about consumers’ “privacy interests,” conceding that, as an

econometrician with expertise in marketing, he doesn’t understand the phrase or what it means,

especially as it relates to Google account holder information transmitted by Google to third parties




8
  The Richards Report cites to concerns raised by members of the United States Senate on these
issues. See id., fn. 131 (citing Senator Ron Wyden (Oregon), et al., Letter to Hon. Joseph J. Simmons,
Chairman of the Federal Trade Commission (FTC) urging FTC investigation of RTB, July 31, 2020.
https://www.documentcloud.org/documents/7011637-073120-Wyden-Cassidy-Led-FTC-
Investigation-Letter).
A report by the Irish Council for Civil Liberties, published just this month, echoes similar concerns
– and raises particular concerns for data privacy and data security arising from Google’s sharing
with companies and state actors in China and Russia, data in the Google RTB auction about U.S.
personnel (including location data, time-stamps, device IDs, and other identifiers) that can be easily
linked to specific individuals and be used to spy on target individuals’ financial resources, mental
state, and intimate secrets. See JOHNNIE RYAN & WOLFIE CHRISTL, AMERICA’S HIDDEN SECURITY
CRISIS: HOW DATA ABOUT UNITED STATES DEFENSE PERSONNEL AND POLITICAL LEADERS FLOWS TO
FOREIGN STATES AND NON-STATE ACTORS, Irish Council for Civil Liberties (Nov. 15, 2023);
available at https://www.iccl.ie/wp-content/uploads/2023/11/Americas-hidden-security-crisis.pdf
9
 Hanssens Dep. at 9:21-24 (“Q. You are not a privacy expert? A. Privacy expert? Well, I’ve done
privacy cases in the past. So, it’s an area of application, but in terms of unique focus of my work,
no.”)
10
     Id. at 10:7-9 (“Q. And you’re not an informational technology expert? A. That is correct.”)

                                                    7
      Case 4:21-cv-02155-YGR          Document 617-7         Filed 11/29/23      Page 11 of 45




in Google RTB.11 It is therefore unsurprising that, when asked whether he has an opinion on whether

or not the information transmitted by Google to third parties through Google RTB “has any aspects

that relate to someone’s right to privacy,” Prof. Hanssens conceded he “do[es] not.12

         25.    Prof. Hanssens spent “no appreciable time” analyzing my work. As I show in the

Richards Report, as reflected in my C.V., and as I reiterated at my deposition, the historical analysis

I bring to my opinions is steeped in my twenty years of training, scholarship, teaching, and expertise

in the interdisciplinary fields of privacy, informational privacy, and data privacy, where I have been

recognized as a leading expert in these fields. My initial report draws heavily on the academic

literature in these areas, including peer-reviewed writings by me (and for which I have received

awards for academic excellence and policy relevance) and by other esteemed experts in these areas.

         26.    Having made the academic discipline of privacy my professional life’s work, it was

indeed surprising to learn that Prof. Hanssens admitted, at deposition, that he did not spend any

“appreciable time” with my report nor with the various articles and academic works he cites in his

report. Prof. Hanssens admitted his total work in this matter, from the time of his retention up to the

time of his deposition, amounted to only “approximately 25 hours.”13 Prof. Hanssens conceded that

“most” of his time on this engagement was “spent in meetings with Cornerstone14 and reviewing

drafts and sending drafts back and forth.”15 He estimates he spent “something like” six hours writing



11
  Id. at 32:6-11 (“Q. You’re not offering an opinion in this report on whether or not consumers have
a privacy interest in the information sent over Google RTB? MR. WONG: Objection. THE
WITNESS: I am a – I’m sorry, but I don’t understand the word ‘privacy interest.’”)
12
   Id. at 33:5-12 (“Q. You’re not offering an opinion as to whether or not the information that is
transmitted over Google RTB has any aspect that relate to someone’s privacy? A. Ah. MR. WONG:
Objection, legal conclusion. THE WITNESS: Okay. I do not. Thank you for clarifying that.”)
13
  Id at 9:10-14 (“Q. Okay. And what is your total billing to date on this matter. A. It is approximately
25 hours. So, you can multiply through, and that would be through – through September [2023].”).
14
  I am informed and believe that Prof. Hanssens’ reference to “Cornerstone” refers to Cornerstone
Research, a company that provides economic and financial consulting for parties in litigation and
regulatory matters.
15
     Hanssens Dep. at 289:12-22.

                                                   8
      Case 4:21-cv-02155-YGR          Document 617-7         Filed 11/29/23      Page 12 of 45




his fifty-one page report16, and “[a]nother three hours or so” evaluating the initial Richards Report.17

However, when asked to estimate the time he spent reading or analyzing the legal authority or

privacy literature concerning, in his words, a reasonable person’s “expectations of privacy ‘relative

to the customs of the time and place, to the occupation of the plaintiff and to the habits of his

neighbors and fellow citizens,”18 Prof. Hanssens concedes his efforts in this regard were exceedingly

minimal. He spent “no meaningful time” reading a motion to dismiss order he cites at footnote 89

of his report.19 And Prof. Hanssens similarly expended “no appreciable time” researching,

analyzing, or even reading the research and source materials listed in his report at footnotes 90, 93-

97, 100 (a peer-reviewed article written by me entitled, “Four Privacy Myths,” published [in revised

form as part of an edited collection] by Cambridge Press in 2015), 108, 109, 124-27, and 130.20

          27.    Given Prof. Hanssens’ lack of expertise in historical research and analysis, and

similar lack of expertise in the interdisciplinary fields of privacy, information privacy, and data

privacy, it is my opinion that in academic circles, Prof. Hanssens critiques of my opinions about the

importance of privacy as a societal norm and a fundamental right in the U.S. would be given no

weight. He would also be considered equally unqualified to put forward the entirely conclusory

position that the opinions I reach in the Richards Report “are based on unreliable and unsupported

assumptions and unscientific analysis.”21

          28.    In sum, lacking any scholarly or professional expertise in privacy, information
privacy, or data privacy, and having not read or analyzed the very research and source materials

related to these issues cited in his own report (or conducted any peer-reviewed research on his own),

it is my opinion that Prof. Hanssens would be considered unqualified by academics in the field to


16
     Id. at 289:23-25.
17
     Id. at 290:24-293:3.
18
     See Hanssens Rep., ¶ 70.
19
     Hanssens Dep. at 291:9-292:16.
20
     Hanssens Dep. at 291:25-300:5.
21
     Hanssens Rep. ¶ 67.

                                                   9
      Case 4:21-cv-02155-YGR             Document 617-7      Filed 11/29/23     Page 13 of 45




offer any opinions relating to privacy scholarship, or the methods of historical and qualitative

analysis that I employed throughout the Richards Report, that are fundamental to one’s

understanding of the history of privacy, its importance as a societal norm, and data practices that

affect consumers’ reasonable expectations of privacy when they use the internet.

                 2.         The Historical Methods on Which I Base My Expert Opinions and
                            Testimony Are Generally Accepted, Informative, And Reliable

          29.    Prof. Hanssens does not challenge my qualifications as a trained legal historian22 and
privacy scholar,23 or my ability to serve as an expert and evaluate case materials here in light of my
extensive expertise, training and scholarship in these fields.24 Nor does Prof. Hanssens take issue
with any of my historical conclusions about the importance of privacy as a societal norm and
fundamental right in the U.S.
          30.    Prof. Hanssens also does not take issue with the methodologies of historical analysis
traditionally employed by trained social scientists, scholars in the humanities, and privacy
academics, like me, per se. As he stated in deposition:
                 “It all depends on how it’s being done. I’m really – I’m totally fine with
                 historical methods. As I said, I use them all the time. And in social science,
                 it’s a perfectly accepted method, but you need to look at the quality of
                 execution. That’s – well, I’m repeating myself, but that’s my issue with
                 Professor Richards.25



22
   Hanssens Depo. at 274:13-19 (“Q. You do not challenge Professor Richards’ qualifications as a
trained legal historian in the field of privacy? A. Probably not. Legal historian, I'm not sure exactly
what that means, but he certainly works in the domain of privacy, and he's legally trained. So yes.
Q. You don’t challenge his qualifications? A. No, no I don’t. I don’t.”)
23
   Id. at 274:7-12 (“Q. You do not challenge Professor Richards’ qualifications as an expert in the
field of information privacy? A. No, I do not. I mean, he’s a lawyer and his focus is on that field. So
that’s – that’s totally fine.”)
24
  Id. at 279:3-9 (“Q. Do you think a person who has extensive experience in an area of study can
review case documents to reach an expert opinion about those documents? MR. WONG: Same
objection, vague. THE WITNESS: That would be – that would be the same answer, yes. The way
you framed the question, the answer is yes.”)
25
     Id. at 278:21-279:5.

                                                   10
       Case 4:21-cv-02155-YGR         Document 617-7         Filed 11/29/23       Page 14 of 45




          31.     Rather, Prof. Hanssens’ main critique seems to be a blanket one for all forms of
academic inquiry and methodological analysis that do not engage in consumer surveys, whether
through internet panels of otherwise:
                  “Well as long as we’re talking about Professor Richards, you know that one
                  of my major comments on Richards is that he doesn’t do any empirical work,
                  no surveys.”26
          32.     This critique misses the overarching purpose of my analytical methodology and its
use in formulating the opinions reflected in the Richards Report. Government regulators, courts, and
juries have long found expert analyses of history and societal norms by academics and scholars
trained in the subject matter at issue to be a critical aid to decision-making and rule-making.27 Indeed,
historians employing qualitative research and analysis are often used to guide decision-making when
societal norms and individual rights are at play – freedom to marry,28 voting rights,29 opioid usage
and addiction, and Native American law and policy30 are just some examples, but there are many

26
     Id. at 49:5-8.
27
   Prof. Hanssens also ignores the fact that my initial expert report cites and relies upon several
quantitative analyses of consumers’ desire for and reasonable expectation of privacy in their user
data and internet communications, including one such analysis by Google. See Richards Rep. at ¶¶
64-68 and citations in fns. 66-75 of same. He offers no analysis of these surveys on the merits, which
is puzzling since these many studies with large consumer sample sizes have findings that are starkly
at odds with the findings of his internet panel survey.
28
  See, e.g., Nancy F. Cott, Which History in Obergefell v. Hodges?, PERSPECTIVES ON HISTORY (July
1, 2015), https://www.historians.org/research-and-publications/perspectives-on-history/summer-
2015/which-history-in-obergefell-v-hodges (noting the importance of history in US Supreme Court
same-sex marriage decision, Obergefell v. Hodges et al, 576 U.S. 644 (2015), in which Justice
Anthony Kennedy, writing for the majority, looks to the history of marriage to the lay the ground for
the groundwork for his reasoning: “Before addressing the principles and precedents that govern these
cases,” the opinion begins, “it is appropriate to note the history of the subject now before the Court.”)
29
   See, e.g., Kritika Agarwal, Historians as Expert Witnesses, PERSPECTIVES ON HISTORY (Feb. 1,
2017), https://www.historians.org/research-and-publications/perspectives-on-history/february-2017
/historians-as-expert-witnesses-can-scholars-help-save-the-voting-rights-act       (discussing     the
importance of historians to guide judicial decision-making in voting rights cases, and explaining that
“Nobody but a historian could possibly figure out the intent underlying the adoption of the law in
question.”).
30
   See, e.g., Greg Ablavsky, History, Power and Federal Indian Law, PROCESS: A BLOG FOR
AMERICAN HISTORY (Jan. 4, 2018), https://www.processhistory.org/ablavsky-federal-indian-law/
(discussing use of legal historians to examine nineteenth-century treaties, case law and other source
materials to guide judicial decision-making on issues involving tribal civil jurisdiction).

                                                   11
      Case 4:21-cv-02155-YGR           Document 617-7        Filed 11/29/23       Page 15 of 45




others. Indeed, my Master’s Thesis in legal history was devoted precisely to this issue – the use of
historical evidence (frequently submitted by trained historians) by courts in interpreting the
Constitution.31
          33.     The same is true in matters involving societal privacy norms, data privacy, consumer
surveillance and data security practices. As noted in the C.V. attached to the Richards Report, I was
invited by the FTC to provide expert testimony on the topics of consumer data protection and the
history (and privacy concerns) of the “notice and choice” regime governing consumer consent to
data practices at the Commission’s Hearings on “Competition and Consumer Protection in the 21st
Century” in April 2019.32 More recently, I was the lead author on a set of FTC comments by the
privacy policy institute I direct that focus on the history, nature and prevalence of consumer
surveillance and data security practices, the failings of the existing “notice and choice” regulatory
regime for privacy, and a proposal that the Commission ground its future data privacy rules under
its Section Five powers in historical concepts of trust, loyalty, and relational vulnerability.33 Also, I
was qualified to testify in the Irish High Court as a U.S. privacy law expert in the Schrems II case,
where my testimony (including a historical treatment of the evolution of U.S. privacy law) was used
in part as the predicate for the Court declaring the EU-US Privacy Shield – one of the primary data
transfer mechanisms for data flow between EU and US organizations – invalid. The judgment was
upheld on appeal both by the Supreme Court of Ireland and again by the European Court of Justice
in Luxembourg, forcing organizations to re-think the way they handle cross-border personal data



31
  See Neil Richards, Clio and the Court: A Reassessment of the Supreme Court’s Uses of His-tory,
13 J. L. & POL. 809 (1997). This article was the final version of my thesis, which I published as a
law review article while serving as a law clerk on the United States Court of Appeals for the
Fourth Circuit.
32
     See Richards Rep. at p.77.
33
   See Neil Richards et al., Comments of the Cordell Institute on the Prevalence of Commercial
Surveillance and Data Security Practices that Harm Consumers, Nov. 21, 2022, available at
available at https://www.regulations.gov/comment/FTC-2022-0053-1071 (Comment ID: FTC-
2022-0053-1071). FTC Chair Lina M. Khan quoted my research and scholarship in these and related
areas in an April 2022 speech outlining the FTC’s new priorities for privacy and data security
enforcement actions to protect consumer privacy expectations and interest. See Remarks of Chair
Lina M. Khan As Prepared for Delivery IAPP Global Privacy Summit 2022, at fns. 3, 8, 14, 21,
available at https://www.ftc.gov/news-events/news/speeches/remarks-chair-lina-m-khan-prepared-
delivery-iapp-global-privacy-summit-2022.

                                                   12
      Case 4:21-cv-02155-YGR          Document 617-7         Filed 11/29/23      Page 16 of 45




transfers and whether they have transfer mechanisms in place that are compliant with E.U. data
protection law.34
          34.    In none of the above instances did my testimony as a legal historian and privacy
expert usurp the role of the court, the jury or the regulatory decision-maker on deciding the question
(or questions) before the tribunal. The same is true here.
          35.    Google account holders in the U.S. do not come to the internet stripped of the
historical, societal protections for privacy in their personal communications, their personal
information and their personal data that have existed for centuries. A trier of fact will be called upon
to decide if those historical societal privacy protections are violated by Google’s conduct here. My
opinions and expert testimony,35 which rely on primary and secondary source materials, including
Google’s own internal records, provide historical context to the Court in making that determination.
          36.    Similarly, Google does not write upon a blank slate when it publishes Privacy
Policies, Terms of Service and related disclosures that are intended to govern Google’s relationship
with its account holders. When stating to data protection regulators that “Google believes in user
privacy protection, and we strive to protect it whenever we can.”36 and when publicly promising its
U.S. account holders that “[w]e never sell your personal information to anyone,”37 Google clearly
conforms these promises to long-standing privacy norms that are deserving of its protection, and
governing California data protection laws that historically define “personal information”
expansively. A trier of fact will decide whether Google breaks its promises, and whether these
transmissions amount to the sharing or selling of account holder “personal information.” My
opinions and expert testimony,38 which rely on primary and secondary source materials, including
Google’s own internal records, are intended to provide historical context to the Court in making
these determinations.


34
     Case C-311/18, ECLI:EU:C:2020:559 (July 16, 2020).
35
     See Richards Rep. at ¶¶ 15-74.
36
   GOOG-HEWT- 00042963 at -696 (Google Ireland Limited Inquiry Reference – Google
submissions to the Irish Data Protection Commission), cited in the initial Richards Expert Report,
ECF 545-9, at p.30, fn. 84.
37
   Google, How Our Business Works, https://about.google/intel/en-US/how-our-business-works,
cited in the initial Richards Expert Report, ECF 545-9, at p.103, fn. 107 (and elsewhere).
38
     See Richards Rep. at ¶¶ 75-89.

                                                  13
      Case 4:21-cv-02155-YGR           Document 617-7         Filed 11/29/23      Page 17 of 45




          37.     Google’s class certification opposition asserts that “Google discloses that RTB Data
is used and shared for advertising” and that “a host of Google terms, policies, and other disclosures
explain how Google uses and shares information for advertising purposes, including the practices
at issue in this case.”39 Google’s Suneeti Vakharia, when deposed recently in her capacity as
Google’s corporate witness, testified otherwise:
          Q. Does Google offer users any opportunity to agree to sharing their information in
          the real-time bidding auction?
          MS. REDDY: Objection. Asked and answered.
          THE WITNESS: Users provide their agreement to the creation of their account,
          which includes the reference to the terms of service and the privacy policies for the
          collection and use of whatever the specified purposes are, depending on their settings.
          There’s nothing referencing RTB specifically.40
          38.     As part of my expert retention, and given my expertise and training in analyzing
terms of service and privacy policies for consumer data protection compliance in the “notice and
consent” context (a regime of which I am, like most privacy experts, admittedly critical), and having
reviewed the Google terms of service, privacy policies and related disclosures that every U.S.
Google account holder is subject to, I agree with Ms. Vakharia that neither the fact nor scope of the
Google RTB auctions, nor the way or breadth with which Google uses, shares and sells Google




39
     Opp Brief, ECF 583-3, at 4:23 and at 5:1-2 (emphasis added).
40
     Vakharia Dep. at 294:6-18 (emphasis added).
 See also id at 49:25-50:9 (“Q. Were you aware of any projects that would explain to users what
information was being shared about them in the real-time bidding auctions? A. “I’m not familiar
with any specific projects related to RTB in general. At any time.”); at 274:22-275:8 (“Q. So the
promise that every class member saw: (As read): ‘Google does not sell your personal information to
anyone.’ Does Google say anywhere in any of these disclosures that Google might sell their
information to anyone? MS. REDDY: Objection. Lacks foundation. THE WITNESS: No, it does not
state that it might sell anyone's information.”); and at 275:10-15 (“Q. Does - Do any of these
disclosures say that Google does sell or has sold class members’ information to third parties? MS.
REDDY: Same objection. THE WITNESS: No, these disclosures do not communicate the sale of
any user’s information.”)
 I respond to Ms. Vakaria’s declaration submitted in opposition to class certification, ECF 592-5, in
Section III.D below.

                                                    14
        Case 4:21-cv-02155-YGR            Document 617-7         Filed 11/29/23       Page 18 of 45




 account holder’s personal information in the Google RTB auctions, are disclosed to Google account
 holders anywhere in these materials.41
           39.     In my expert opinion, this common lack of disclosure of Google’s RTB practices has
 normative privacy implications the trier of fact must consider when determining a reasonable Google
 account holder’s expectations as to her data security or data privacy when using the internet.42 That
 is, Google’s actions in the auction are not a mere technicality that can be swept into a general
 description of “personalized advertising.” Rather, what Google is sharing and selling to third parties
 through that process is far beyond the scope of societal norms.
           40.     I do not, however, tell the Court or the trier of fact how to decide the issue - a question
 I view as being within the purview of the Court or trier of fact alone.
           41.     Elsewhere in my report, I provide expert opinions and testimony about the privacy,
informational privacy and data privacy norms that are implicated by Google’s (now admittedly
undisclosed) RTB practices – as I understand them. In doing so, I collected and examined primary
and secondary source materials, including Google’s internal records as well as the expert reports of
the experts – sources that I believe will be (and perhaps have been) tested by Google’s experts, and
which will be provided to the trier of fact in order to decide plaintiffs’ class certification motion and,
potentially, the merits of plaintiffs’ claims at trial. As I explain in the Richards Report, my expert
opinions and testimony in this regard are again rooted in history, legal history and my scholarship
about and analysis of societal privacy norms.43 They are offered to provide background and context
but do not decide (or purport to decide) any ultimate questions of law or fact for the Court or any
potential jury. Because Prof. Hanssens’ did not review these materials, he has no basis to critique my
analysis of them.
                   3.      The Hanssens’ Surveys are Methodologically Flawed – And Admittedly
                           Do Not Even Analyze Privacy Norms or Expectations
           42.     It is my expert opinion that Prof. Hanssens’ survey is methodologically flawed and

fundamentally unreliable because it (a) suffers from significant “selection bias” directly related to the

phenomenon being measured; (b) does not inform participants of the fact, nature or breadth of


 41
      See Richards Rep. at ¶¶ 118-131, 137.
 42
      See id.
 43
      See id. at ¶¶ 90-118.

                                                       15
      Case 4:21-cv-02155-YGR          Document 617-7        Filed 11/29/23      Page 19 of 45




Google’s RTB practices (the very conduct plaintiffs place at issue, here); (c) was not designed to

measure (and, in fact, does not measure) consumers’ reasonable expectations of privacy; and (d) its

results – and the conclusions Prof. Hanssens’ draws from them – have not been analyzed or

corroborated by someone with expertise in privacy or societal privacy norms.

          43.    Let me begin by offering my experience and qualifications to make these critiques.

As I explained at deposition, while I have not personally designed or executed a “large-n” quantitative

survey study, I am frequently called upon to read and evaluate such studies for academic rigor, as part

of my academic work at Washington University and elsewhere.44 As one perhaps coincidental

example, when Matthew Kugler, a scholar relied upon by the Hanssens Report for its survey

methodology,45 came up for academic tenure at Northwestern University School of Law, his tenure

and promotion committee asked me to review his body of empirical work (including the paper in

question), and opine on it for purposes of their decision to grant or deny him tenure. And in response

to this request, I submitted a confidential evaluation of his work which was used by his law school as

part of their tenure decision. This is a task I perform regularly, including when evaluating the

scholarship of emerging academics in the areas of history, privacy and other disciplines—including

scholars like Prof. Kugler whose work in these fields is qualitative or quantitatively empirical in

nature.

          44.    The Hanssens surveys demonstrate “selection bias”. As a trained historian and
evaluator of empirical research, I am familiar with the problems of “selection bias” – typically,

confirmation bias and convenience sampling – and the strategies that scholars may employ to try to

mitigate bias when conducting historical study and analysis.46 This was also something that I

44
     See Richards Dep. at 49:18-50:11.
45
  See Hanssens Rep. at 10, fn. 28-30 (citing Matthew Kugler & R. Charles Henn, Internet Surveys
in Trademark Cases: Benefits, Challenges, and Solutions, in TRADEMARK AND DECEPTIVE
ADVERTISING SURVEYS: LAW, SCIENCE, AND DESIGN (Diamond & Swann, eds. 2d ed 2022).
46
  See, e.g., Jørgen Møller and Svend-Erik Skaaning, The Ulysses Principle: A Criterial Framework
for Reducing Bias When Enlisting the Work of Historians, SOCIOLOGICAL METHODS &
RESEARCH, 50(1), 103-134 (2021), available at https://journals.sagepub.com/doi/10.1177/


                                                  16
       Case 4:21-cv-02155-YGR           Document 617-7       Filed 11/29/23      Page 20 of 45




explained at my deposition.47 Additionally, I am trained to (and often do) analyze survey results to

advise my faculty colleagues at my University and elsewhere whether selection bias distorts the

results of a study. Selection bias occurs when there are systemic differences between the participants

in a study and non-participants, such that the subset of participants included or analyzed are not

representative of the target population, and thus cannot be used to reliably generalize about the

population as a whole.48 Prof. Hanssens appears to understand this concept – he states in his report

that “[t]he design of the survey must ensure an accurate representation of the underlying population

of interest” and cites to a standard “Reference Guide on Survey Research”49 – but then fails to check

for it. As a preliminary matter, Prof. Hanssens did not verify that participants who self-selected for

the survey were Google account holders subject to U.S. Google terms of service50 – the target

population here. But, more critically, as explored at Prof. Hanssens’ deposition, any respondent

selected to participate in the Hanssens surveys had to (1) choose to be part of a pre-screened panel of

Prodege survey-takers to share information about themselves that (2) must first, and repeatedly over

time, accept and agree to the terms of Prodege’s privacy policy, which states:

          We may share or sell aggregate or individualized information about you that may

          include, without limitation: (1) your PII and related information; (2) your use of the

          Prodege Sites and Features and our Services; (3) Third Party Services and other

0049124118769107; Mick P. Couper, New developments in survey data collection, ANNUAL REVIEW
OF SOCIOLOGY, 43, 121-145 (2017); ROGER TOURANGEAU, & THOMAS J. PLEWES, EDS.,
NONRESPONSE IN SOCIAL SCIENCE SURVEYS: A RESEARCH AGENDA (Washington, DC: The National
Academies Press 2013); Jelke Bethlehem, Selection bias in web surveys, 78(2) INT’L STAT. REV.,
161-188 (2010).
47
     See Richards Dep. at 49:21-50:5.
48
     See, e.g., Jelke Bethlehem, Selection bias in web surveys, 78(2) INT’L STAT. REV., 161-188 (2010).
49
   Hanssens Rep. ¶ 24, fn. 21 (citing Diamond, S.S. (2011), “Reference Guide on Survey Research,”
in REFERENCE MANUAL ON SCIENTIFIC EVIDENCE, Washington, D.C.: The National Academies Press,
359-423); see also Hanssens Dep. at 58:17-24 (“Q. All right. So, an accurate representation of the
underlying population is a key consideration in the design for a reliable survey, is that correct? A.
Correct.”)
50
 See Hanssens Dep. at 101:6-102:6 (“Q. Did you verify that each individual respondent was a
Google accountholder? A. Did I independently verify that? No….”)

                                                   17
      Case 4:21-cv-02155-YGR          Document 617-7          Filed 11/29/23      Page 21 of 45




         websites you visit; and (4) your geo-location and information derived therefrom.”

         And upfront, the policy states that “- IF YOU DO NOT WISH TO HAVE US

         COLLECT, USE, AND SHARE INFORMATION AS DESCRIBED IN THIS

         PRIVACY POLICY, PLEASE DO NOT USE ANY OF THE PRODEGE SITES

         AND FEATURES OR OUR SERVICES.51

This means that every panelist in the survey pool had to both (1) agree to share information about

themselves through a survey as a general matter and (2) specifically agree and accept a privacy

policy that expressly disclosed Prodege’s selling and sharing of significant amounts of their personal

data with third parties – including their browsing activity, their location and information derived

therefrom, and other personally identifying information – the types of personal information that

plaintiffs have put directly at issue in this litigation. Indeed, as summarized in Appendix H to the

Hanssens Report and as detailed in the referenced Privacy Policy, Prodege requires each of its survey

panelists to repeatedly agree to significant digital surveillance and to the disclosure of their sensitive

personal information to third parties, including advertisers.52

         45.     In my expert opinion, the self-selection biases in a privacy case of this sort suggest

substantial systemic flaws in the design of the Hanssens survey - flaws that cast doubt on the

soundness of its methodology and its reliability. The population as a whole does not participate in

internet panels in which they share information about themselves, and there is reason to believe that
those who would choose to offer information about themselves and their preferences on the internet

would not be representative of the population as a whole with respect to their views on privacy.

Moreover, there is a second and more significant selection bias in this group, which is the fact that

such participants had to expressly agree to a privacy policy that shared their personal information

including browsing history and location data, which offers an additional risk of a seriously skewing

51
  See Hanssens Dep. at 53:10-23; 89:21-95:1. Prof. Hanssens “did not” test whether most Google
account holders would have agreed to Prodege’s privacy terms. Id. at 96:21-24 (“Did you test
whether most Google accountholders would have agreed to Prodege’s terms in this policy? A. I did
not test that.”).
52
     Hanssens Dep. at 67:25-69:7; 70:15-95:15.

                                                   18
       Case 4:21-cv-02155-YGR          Document 617-7         Filed 11/29/23      Page 22 of 45




selection bias. In these two distinct ways, the selection of participants for the Hanssens study was

thus biased in ways that are directly related to the phenomenon being purportedly measured. Indeed,

Prof. Hanssens testified at his recent deposition that someone who refused Prodege’s policy may have

answered the survey differently53; that if the survey population included only individuals who had

refused to accept Prodege’s policy, the results could have been different54; and finally, that “as an

academic he has to admit the possibility” that selection bias limited the survey’s reliability.55

          46.     Prof Hanssens did not query survey participants about the nature of Google RTB

or its breadth. In the Richards Report, I discuss the body of evidence, including Google’s own

internal documents and the technical reports of plaintiffs’ experts, that currently exists in the record,

and that may be put before a trier-of-fact about the nature, extent and breadth of Google RTB in

deciding whether that practice contravenes societal privacy norms.56 Prof. Hanssens does not contest

this body of evidence, or my expert opinion and testimony with respect to this evidence. Prof.

Hanssens does not even query panelists on these issues. Indeed, as he conceded at his recent

deposition, the Hanssens survey does not even mention Google RTB.57

          47.     The omission of Google RTB from Prof. Hanssens’ survey questions, in my opinion,

fatally undermines the reliability of the survey design, as well as the credibility of the opinions that

Prof. Hanssens’ draws from them. As a result of this omission, the survey does not, among other

things: (a) describe the many categories of account holder personal information that are transmitted
to hundreds of companies around the world through Google RTB or that these companies, in turn,



53
     See id at 95:3-15.
54
     See id at 95:2-9.
55
     See id at 98:25-99.9.
56
     See Richards Rep., ECF 545-9, at ¶¶ 90-115.
57
  Hanssens Dep. at 282:25-282:11 (“Q. Did you ask survey takers whether they ever heard of Google
RTB from any source? A. RTB is not a formal part of the survey, as you know. It’s about sharing
data. I never say my survey, that it’s analyzed by humans or analyzed by machines. Q. Did you ask
survey takers whether they ever heard of Google RTB? A. Same answer – well, no. Q. Did any of
your surveys even mention the word “Google RTB”? A. Not that I recall.”).

                                                   19
      Case 4:21-cv-02155-YGR           Document 617-7        Filed 11/29/23       Page 23 of 45




send this information out to hundreds more58; (b) explain that these third-party companies use this

data to create user profiles59; or (c) describe how the aggregate bid stream data sent out in a single

bid request can be used to identify individuals, households and devices.60 These discrepancies

between what Prof. Hanssens’ survey asks, and the reality that Google account holders face, in my

opinion, do not provide a sound or reliable measurement of their reasonable expectations of privacy

in their personal information.

          48.     Prof. Hanssens’ surveys were not designed to assess the reasonable privacy

expectations of Google account holders based on the disclosures at issue and what Google actually

does. Prof. Hanssens’ survey suffers another fundamental flaw: the survey was not designed to (and

does not) actually assess, measure or analyze the reasonable privacy expectations of Google account

holders. Prof. Hanssens thus has no opinion as to whether the bidstream data that is transmitted by

Google to companies outside of Google through Google RTB implicates account holders’ rights to

privacy – a point Prof. Hanssens conceded at deposition.61

          49.     Prof. Hanssens’ surveys lack corroborative assessment or analysis by anyone

skilled in privacy. Finally, in my expert opinion, the Hanssens Report is unreliable because its

conclusions are not grounded in the relevant academic literature.

          50.     As previously noted, Prof. Hanssens is not a privacy scholar. As a result, he has not

focused on the correct questions and does not interpret his results in a way that a scholar in the field
would. For example, the “heterogeneity” he interprets from his self-selected (and selectively biased)

internet panels of 300 respondents is not situated in the academic privacy literature, which would

put it into greater context. It is not situated in the empirical and theory literature that, for example,

58
     Id. at 197:5-25.
59
     Id. at 198:5-12.
60
     Id. at 198:12-199:2.
61
  Hanssens Dep. at 33:5:12 (“Q. You’re not offering an opinion as to whether or not the information
that is transmitted over Google RTB has any aspects that relate to someone’s right to privacy? MR.
WONG: Objection, legal conclusion. THE WITNESS: Okay. I do not. Thank you for clarifying
that.”)

                                                   20
     Case 4:21-cv-02155-YGR          Document 617-7         Filed 11/29/23      Page 24 of 45




thoroughly discredits the so-called “privacy paradox”;62 shows that consumers are disempowered

and feel that they have no control, so they click “I agree” out of despair;63 shows that consumers are

deeply concerned about privacy incursions from large technology companies;64 and shows that the

more consumers learn about privacy issues the more concerned they become and that even

consumers who say they aren’t concerned about privacy take actual steps to protect their privacy,65

suggesting that shallow internet surveys devoid of context are unreliable. Thus, while Prof. Hanssens

interprets his survey respondents’ actions as indicating that they do not care about privacy, scholars

in the field would likely reach the opposite conclusion. His lack of expertise has spoiled his

conclusions.

      4.       The Other Critiques in the Hanssens Report Do Not Stand Up to Scrutiny

      51.      In addition to the broader critiques that I have already addressed, there are a small

number of lesser critiques made by Prof. Hanssens that I believe warrant a brief response, and which

I have collected together here to deal with in order. None of them, in my opinion stand up to scrutiny.

I deal with five of them here, and leave a final one (the third-party website disclosure claim) to a

discussion in Section III.E below, since all of the documents filed in response to my initial report

repeat this claim in one form or another.



62
  See, e.g., Daniel J. Solove, The Myth of the Privacy Paradox, 89 GEO. WASH. L. REV. 1 (2021);
Neil Richards & Woodrow Hartzog, The Pathologies of Digital Consent, 96 WASH. U. L REV. 1461
(2019).
63
  See, e.g., Joseph Turow et al., Americans Can’t Consent to Companies’ Use of Their Data: They
Admit They Don't Understand It, Say They’re Helpless to Control It, and Believe They’re Harmed
When Firms Use Their Data – Making What Companies Do Illegitimate, at 7, Annenberg Sch. Of
Comm., Univ. Pa. (February 2023); NEIL RICHARDS, WHY PRIVACY MATTERS 95-100 (2021).
64
  Pew Research Center, Roughly six-in-ten online daters in the U.S. are concerned about data
collection, May 29, 2020, https://www.pewresearch.org/fact-tank/2020/05/29/roughly-six-in-ten-
online-daters-in-the-u-sare-concerned-about-data-collection/;
65
   See, e.g., Müze Fazlioglu, Privacy and Consumer Trust, International Association of Privacy
Professionals 8, 10 (2023); Alessandro Acquisti et al., Secrets and Likes: The Drive for Privacy and
the Difficulty of Achieving It in the Digital Age, 30(4) J. CONSUMER PSYCH. 736 (2020),
https://myscp.onlinelibrary.wiley.com/doi/10.1002/jcpy.1191.

                                                  21
    Case 4:21-cv-02155-YGR            Document 617-7         Filed 11/29/23       Page 25 of 45




      52.      First, the Hanssens Report suggests that I “ignored evidence from academic research

and from Plaintiffs’ testimony showing that expectations about privacy can be heterogeneous across

consumers and reflect a variety of influences,” and that the Richards Report was defective because

it did not address the expectations of Google account holders. Once again, this claim misunderstands

the purposes and contribution of the Richards Report, which is to examine the extent to which

privacy is a foundational social norm and fundamental right, and whether there was evidence from

which a jury could conclude that reasonable Google account holders who had been told that Google

would never share or sell their personal information might believe that their privacy rights had been

violated. (I note, as pointed out in the previous section, that it is in fact the Hanssens Report that is

insufficiently grounded in the privacy literature).

      53.      Second, the Hanssens Report suggests that the empirical sources I cited in my initial

report are inapplicable because they deal with different issues from the ones at issue here, including

dealing with other countries and contexts. These claims once again either misunderstand the purpose

of my report or misrepresent the evidence and claims within it. That section of the Richards Report

shows that there is substantial empirical evidence that consumers today continue to care deeply about

privacy and to wish to preserve the historical societal norm of privacy protection. Moreover, to the

extent that empirical scholars have found that consumers express more concern about privacy the

more they learn about the privacy practices of large technology companies, as I discuss in the
Richards Report, this suggests that reasonable privacy expectations can be hard to infer from Internet

surveys of the sort proffered by the Hanssens Report. Finally, the assertion in the Hanssens Report

that my evidence does not support my conclusions misunderstands the empirical evidence that I

discuss. For example, while the IAPP study I cited was not limited to the United States, it does offer

findings for consumers in the US and Canada, which are the ones I relied upon in my initial report.

More importantly, such quibbling is ultimately beside the point: Consumers in the U.S. undeniably

care a great deal about their privacy, supporting the social norm that privacy continues to matter.

      54.      Third, the Hanssens Report suggests that my use of Google internal documents
revealing that it knew its account holders cared about privacy is “not necessarily representative of

                                                   22
       Case 4:21-cv-02155-YGR         Document 617-7        Filed 11/29/23      Page 26 of 45




the population of Google Account Holders.” Once again, this claim misunderstands the Richards

Report, which merely offers these materials as additional available record evidence from which the

trier of fact may conclude that Google account holders continue to care about privacy—and that

Google knows this. The privacy practices of large technology companies are indisputably within my

expertise. Indeed, at deposition, Dr. Hanssens himself appeared to concede as much.66

         55.      Fourth, the Hanssens Report suggests that “Prof. Richards’ analysis” is flawed

because, Prof. Hanssens argues, I ignore evidence that suggests that account holders could learn

from “multiple sources” about the information that Google shares with advertisers in the RTB

system.67 While Prof. Hanssens purports to suggest there are “numerous disclosures made by Google

informing its account holders of the types of information collected and shared for advertising

purposes,” of the three he points to – a deeply embedded “Technologies” page (an evolving page

published in some form beginning November 14, 2022),68 accessible through Google’s Policies page

(by       first     clicking   on    https://policies.google.com/,    and     then     clicking     on

https://policies.google.com/technologies/ads, and then by performing a serious of clicks to

https://policies.google.com/technologies/partner-sites); Google’s Privacy Policy effective July 1,

2023 (now available only archivally at https://policies.google.com/privacy/archive/20230701; and

another deeply-embedded “Ads and Data” link (of uncertain vintage but seemingly recent69) that

takes three steps to access by clicking on a box at the very bottom, right hand side of the “Security
and Safety” page of Google’s Safety Center page (that is, by first going to http://safety.google/, then

clicking on https://safety.google/security-privacy/, and then by going all the way down the page to a

box to click that directs you to https://safety.google/privacy/ads-and-data/ — none of them disclose

66
  Prof. Hanssens concedes both that I am a privacy expert (see Hanssens Dep. at 274:7-12), and that
that “a person who has extensive expertise in an area of study can review case documents to reach
an expert opinion about those documents.” See id. at 279:11-18.
67
     See id. at ¶ 79.
68
   See Vakharia Dec. (ECF 592-5) at ¶ 32. The version of the embedded attached as Exhibit 6 differs
from the one that appears on Google’s site today.
69
     Ms. Vakharia does not discuss this page in her September 29, 2023 declaration.

                                                  23
      Case 4:21-cv-02155-YGR         Document 617-7        Filed 11/29/23      Page 27 of 45




Google RTB or that Google shares and sells account holder personal information to hundreds of

outside companies in Google RTB auctions billions of times each day.70

         56.     Nor do any of these documents provide account holders anywhere near the

informational clarity Prof. Hanssens presupposes they do.71 The first of these embedded pages,

“Technologies,” begins with the aspirational phrase, “Google advertising services are experimenting

with new ways of supporting the delivery and measurement of digital advertising in ways that better

protect people’s privacy online” (emphasis mine) – reinforcing my initial expert opinion (reiterated

in ¶ 54 above) that Google, when drafting these pages, necessarily understands there are long-

standing privacy norms that are deserving of protection, and that governing California data

protection laws historically define “personal information” expansively. Also reinforcing this point is

the referenced archival Privacy Policy, which states: “We don’t share information that personally

identifies you with our advertising partners, such as your name or email, unless you ask us to share

it.”72 And, further reinforcing the point, both the “Technologies” and “Security and Safety” links

include an introductory box containing Google’s front-loaded, and prominently displayed, promise:




70
   See Vakharia Dep at 224:15-22 (“Q. How about -- let's just say, looking at all of the exhibits to
your declaration and Ms. Caracuzzo’s -- A. Yes. Q. -- can you please identify where Google discloses
to users that personal information may be shared by Google through the real-time bidding auction?
A. Google -- MS. REDDY: Same objections. THE WITNESS: Google does not disclose that
personal information is shared. It expressly says that it does not share personal information -- BY
MS. WEAVER: Q. So no -- A. -- to third-party -- Q. Sorry. A. -- to third-party entities. Q. Okay. So
nowhere in any of the documents we've discussed today does Google disclose to any Google account
holder that Google may be sharing their information in the real-time bidding auction; is that correct?
A. They -- MS. REDDY: Objection. Exceeds the scope of the 30(b)(6) notice. Go ahead. THE
WITNESS: These documents communicate that there may be some account information -- for
instance, like the location of a user -- but not personal information, and so there's no communication
of that.”)
71
  Google knows this. In my initial report, I cite numerous internal Google documents produced in
discovery underscoring that there is a lack of consumer knowledge or understanding with respect to
Google’s advertising practices, or with respect to Google RTB in particular. See Richards Rep. at ¶¶
126-127 & notes 73-186.
72
     See https://policies.google.com/privacy/archive/20230701 (emphasis added).

                                                 24
      Case 4:21-cv-02155-YGR           Document 617-7        Filed 11/29/23         Page 28 of 45




We never sell your personal                       We never sell your personal information to anyone, including
                                                  for ads purposes.
information to anyone.


         57.     Prof. Hanssens’ assertions also misunderstand or mischaracterize the opinions

offered in the Richards Report. There (at ¶ 84), I offer the opinion that there is evidence from

which a reasonable trier or fact could conclude that Google broke its consistent and repeated
message to its account holders in both customer-facing documents and public statements “that the

company ‘does not’ ‘will not’ and ‘never’ shares or sells account holders’ personal information to

‘anyone’ including, specifically, ‘with advertisers[.]’” The Hanssens Report’s efforts to scour

Google’s fine print (or obscure corners of the Internet) to find vaguely-worded statements that still

do not inform Google account holders about Google RTB, much less inform them of the almost

unimaginably vast amount and types of account holder bitstream data that Google shares and sells

to vast numbers of outside entities, does not disturb my conclusion on this point.

         58.     Fifth, as a related matter, Prof. Hanssens makes no argument about the amount of

Google account holder personal information shared and sold by Google to hundreds of outside

companies in RTB. Indeed, it appears to be undisputed in this case that Google shares through

RTB a vast amount of information about its account holders to a vast number of RTB participants.

For example, as I explained in my initial report, the quantity of personal information that Google

transmits is historically unprecedented and so vast in scope that it is difficult to comprehend.73

Nothing in the Hanssens survey measures Google account holder expectations if they were to learn

the actual, almost unfathomably large amount of data about them that Google shares and sells to

Google RTB participants every day. Prof. Hanssens’ report likewise does not address this issue.


73
     See Richards Rep. at ¶¶ 114-17.

                                                  25
       Case 4:21-cv-02155-YGR            Document 617-7     Filed 11/29/23      Page 29 of 45




           B.    Mr. Deal Lacks the Qualifications to Assess My Opinions – Or to Offer His
                 Own
           59.   Mr. Deal is another expert retained by Google to submit an expert report in support

of Google’s opposition to the motion for class certification. Mr. Deal states he is a Managing

Partner in the Menlo Park, California office of Analysis Group, Inc., an economic consulting firm

that provides economic and financial consulting services.74 He lists his academic qualifications as

having a Masters’s Degree in Public Policy from Harvard and some additional graduate work at

that institution.75 The C.V. provided with his report says he earned a Bachelor of Arts Degree in
Economics and Global Studies from Pacific Lutheran University, in Tacoma, Washington.76 He

taught what he describes as analytical methods and statistics for a couple of years in the 1990s, in

addition to two economics summer programs, also in the 1990s.77 He does not indicate ever having

studied history, legal history, or privacy – and lists no peer-reviewed publications,78 publications,

articles, scholarly studies, instruction, or academic work or engagement in these disciplines. He is

not a scholar of privacy, or it seems, of anything else.

           60.   Mr. Deal describes his assignment in this matter as a limited one: he was retained

by Google “to evaluate and respond to the opinions provided by [plaintiffs’ experts] Professor

Robert Zeithammer and Mr. Greg J. Regan,” and “[s]pecifically” “to assess whether Plaintiffs’

Experts have offered reliable class-wide methodologies for calculating unjust enrichment and

compensatory damages resulting from the alleged conduct at issue.”79 Yet, despite the strict

confines of his engagement, Mr. Deal’s report strays far afield of the limited purposes of his

assignment and the bounds of his field – oftentimes offering, as his own opinion, what appear to

74
     See Deal Rep., ECF 584-7, at ¶ 1.
75
     Id.
76
     Id. at Appendix A.
77
     Id.
78
     Deal Dep. at 20:16-21:17.
79
     Deal Rep. (ECF 584-7) at ¶ 5.

                                                 26
      Case 4:21-cv-02155-YGR         Document 617-7         Filed 11/29/23      Page 30 of 45




be the opinions or statements of Google’s other retained experts and declarants, or others, without

independent analysis or scrutiny. In doing so, Mr. Deal offers no reliable methodology for the

conclusions he reaches. He also lacks the requisite qualifications to opine on matters beyond the

narrow purposes of his engagement and limited field of experience.

         61.    In short, the Deal Report contains serious methodological flaws. In general, these

stem from an ignorance and/or misinterpretation of the vast interdisciplinary scholarship on

consumer privacy, similar to the Hanssens Report. Indeed, the ignorance of the privacy literature

in the Deal Report leads to the plainly wrong conclusion about the benefits of surveillance

advertising despite substantial evidence to the contrary. Mr. Deal’s analysis is out of step with the

academic literature on privacy (as opposed to marketing industry talking points).

         62.    Economic analysis is only as good as the assumptions on which it rests, and

undergirding the Deal Report is the assumption (common to simplistic and frequently result-

oriented economic analysis in the consumer privacy context) that consumers are rational actors

gifted with almost limitless resources of intelligence, time, and money to make the kind of rational

choices businesses advised by large law firms might make.80 Of course, when stated in this way, it

is obvious that this is a deeply flawed assumption. As one of the founders of behavioral economics,

the Nobel Prize-winning economist Richard Thaler puts it well, we should not treat consumers as

if they were artificial people (he calls them “econs”) but rather as actual human beings (which he
calls “humans.”).81

         63.    At the specific level, the simplistic rational actor view of consumers and consumer

behavior has also been refuted by the vast interdisciplinary literature on consumer privacy showing


80
   See Richards, WHY PRIVACY MATTERS, at p. 44. See also, e.g., Ari Ezra Waldman, Cognitive
Biases, Dark Patterns, and the “Privacy Paradox,” 31 CURR. ISS. IN PSYCH. 2020 (“The rational
choice model is ineffective. It also fails to describe privacy decision-making. Individuals have
bounded rationality, which limits their ability to acquire all relevant information and translate it
into an evidence-based decision. Recent research has identified myriad cognitive and behavioral
barriers to rational privacy and disclosure decision-making.”) (references omitted)
81
     See Richards, WHY PRIVACY MATTERS, at p.45.

                                                 27
      Case 4:21-cv-02155-YGR           Document 617-7         Filed 11/29/23       Page 31 of 45




how, in practice, consumers in practice are nothing like the “econs” assumed by the simplistic law

and economics view of the “notice and choice model” by which consumers are expected to read

every privacy policy and make choices as if they were (again) large corporations advised by large

law firms. Unfortunately, despite all this evidence to the contrary, the Deal Report repeatedly

assumes consumers (and class members) to be gifted by these superhuman characteristics, instead

of being what they are — ordinary people trying to live their modern lives that are inescapably and

unavoidably mediated by technologies and technology companies including Google and its RTB

system. In such circumstances, it is reasonable (as a matter of what people are rationally capable

of) for consumers to rely on consistent promises that (for example) companies will never share or

sell their personal data rather than engaging in the kinds of superhuman efforts the Deal Report’s

analysis assumes they have the capability to do.

         64.     From this perspective of the Deal Report’s unreasonable assumptions about actual

(not to mention reasonable) consumer behavior, and its ignorance of evidence to the contrary from

the privacy literature, it is easy to see a number of errors and fallacies in the report’s analysis.

         65.     First, the Deal Report suggests that many consumers “do not place a meaningful

value on the type of data at issue in this matter.”82 In support of this claim, it cites a handful of

economic and marketing studies suggesting that consumers in some contexts are comfortable

sharing data for little to no compensation. I note that the Deal Report does not engage in any way
with the contrary historical and contemporary conclusions I reached in the Richards Report, nor

with the empirical evidence that I cited, nor with the evidence in the record that I cited that supports

the contrary proposition that Google account holders care deeply about their privacy and the

company knows it. Nor does the Deal Report engage in any meaningful way with the

interdisciplinary privacy literature. Instead, it cites a handful of studies, some of them from biased




82
     Deal Rep. ¶ 120.

                                                  28
       Case 4:21-cv-02155-YGR           Document 617-7          Filed 11/29/23     Page 32 of 45




sources such as the “Center for Data Innovation” and McKinsey, which serve business interests.83

By contrast, the sources that I cited in my initial report are from scholars, the nonprofit Pew

Research Center, and the International Association of Privacy Professionals, which find substantial

evidence that consumers do in fact care about their privacy.

          66.     Yet even some of the sources cited in the Deal Report undermine its claim that

people don’t care about privacy. For example, one of the sources cited in an exhibit to the Deal

Report84 concludes that, based upon a survey of consumer preferences, “We find that 96% of

individuals are willing to pay to avoid sharing their personal data in at least one of [sic] data sharing

environments. We also find that individuals are consistent in their rankings of the importance of

different types of personal data when these rankings are elicited in different ways. This suggests


83
  And Mr. Deal, perhaps due a lack of experience in the privacy field, cherry picks quoted passages
from the FTC primer to come to a misleading conclusion. As the FTC repeatedly acknowledges in
the very document Mr. Deal cites: “Limiting the collection of personal data and its use for targeted
advertising may be beneficial to consumers for privacy reasons”; “consumer harm can ‘come
directly from disutility that a customer might feel from the perceived intrusiveness of the
advertising’”; “[t]hat consumers care about privacy is reflected in numerous studies that attempt
to empirically quantify their value of privacy” and that and “[t]here are also consumer privacy
concerns that need to be addressed.” Yan Lau, A Brief Primer on the Economics of Targeted
Advertising 9, 10, 16, Bureau of Economics, Federal Trade Commission, Jan. 2020, available at
https://www.ftc.gov/system/files/documents/reports/brief-primer-economics-targeted-advertising/
economic_issues_paper_-_economics_of_targeted-advertising.pdf.
        More generally though, as any privacy expert would know, the FTC understands that the
“privacy paradox” is a simplistic fallacy that fails to take the circumstances of actual consumers
(as opposed to simplified microeconomic abstractions of people) into account. As FTC Chair Lina
Khan explained in a major policy statement that relied heavily on the interdisciplinary academic
privacy literature (including my work, Prof. Solove’s, and Prof. Hartzog’s): “[w]hen faced with
technologies that are increasingly critical for navigating modern life, users often lack a real set of
alternatives and cannot reasonably forego using these tools.” See Remarks of Chair Lina M. Khan
As Prepared for Delivery IAPP Global Privacy Summit 2022, at 6, available at
https://www.ftc.gov/news-events/news/speeches/remarks-chair-lina-m-khan-prepared-delivery-
iapp-global-privacy-summit-2022. More recently, the head of the FTC's Bureau of
Consumer Protection was more blunt, explaining that when it comes to privacy, “[i]t’s a fantasy
that consumers can be put on ‘notice’ of how their data is being handled by reading thousands of
pages of dense privacy policies. And it’s a fiction that they can somehow exercise ‘choice,’ when
that would essentially require them to opt out of the digital economy.” See infra ¶ 70 & n.93.
84
     Deal Rep. at Ex. 9 (citing to Skatova, A, et al. (2019)), infra.

                                                    29
       Case 4:21-cv-02155-YGR         Document 617-7        Filed 11/29/23     Page 33 of 45




that the techniques we employ can reveal stable underlying preferences for keeping personal data

private.”85 Later on, the paper concludes that it has found “evidence for consistent preferences for

privacy.”86

          67.     Second, the Deal Report relies upon the tired and debunked industry trope of the

so-called “privacy paradox,” the idea that, even though consumers repeatedly and consistently say

that they care about their privacy, they behave in ways that do not appear privacy-protective, so

the economic notion of “revealed preferences” suggests that they do not care about privacy after

all.87 At the outset, it is worth noting that the very premises of this argument undermine the Deal

Report’s own claim that consumers do not care about privacy – it assumes (based upon its

observation of reality) that consumers do frequently and consistently express strong preferences

for data privacy. Thus, one of the sources quoted by the Deal Report states that “survey results

show that the privacy of their personal data is an important issue for online users worldwide.”88

          68.     More importantly, however, the so-called “Privacy Paradox” has been debunked by

the privacy literature, as I have already noted above.89 But to put the point crisply, the leading

privacy scholar Professor Daniel Solove has explained that there is no privacy paradox because

measuring people’s behavior in very specific contexts (in which they may well be influenced by


85
  Skatova, A., McDonald, R. L., Ma, S., & Maple, C. (2019, May 12). Unpacking Privacy:
Willingness to pay to protect personal data, at 4, https://doi.org/10.31234/osf.io/ahwe4.
86
     Id. at 32.
87
     Deal Rep. at ¶ 122.
88
   Deal Rep., fn. 177 (quoting Gerber, N. et al., Explaining the privacy paradox: A systematic
review of literature investigating privacy attitude and behavior, 77 COMPUTERS & SECURITY 226,
226 (2018)).
89
   Additionally, Professor Joseph Turow (whom the TRUSTe internet privacy-management
organization designated a “privacy pioneer” for his research and writing on marketing and digital-
privacy) devotes a whole body of scholarship to this issue. See, e.g., TUROW, THE VOICE
CATCHERS: HOW MARKETERS LISTEN IN TO EXPLOIT YOUR FEELINGS, YOUR PRIVACY, AND YOUR
WALLET (2021); TUROW, THE AISLES HAVE EYES: HOW RETAILERS TRACK YOUR SHOPPING, STRIP
YOUR PRIVACY, AND DEFINE YOUR POWER (2017); TUROW, THE DAILY YOU: HOW THE NEW
ADVERTISING INDUSTRY IS DEFINING YOUR IDENTITY AND YOUR WORTH (2013); TUROW, NICHE
ENVY: MARKETING DISCRIMINATION IN THE DIGITAL AGE (2006).

                                                 30
      Case 4:21-cv-02155-YGR            Document 617-7          Filed 11/29/23       Page 34 of 45




the design of interfaces or the exigencies of circumstances) has little to do with the importance of

privacy as a general, shared, social value.90 And as I have shown in my work with Dr. Woodrow

Hartzog, building on the work of many other privacy scholars, the contexts in which consumers

make actual privacy choices are rarely free, knowing, and voluntary. As we explain:

          We believe that the theory of consent pathologies offered here complicates a

          seductive but simplistic story that has been offered in tech policy circles for over a

          decade. This is the notion of the “privacy paradox”—the idea that consumer anxiety

          about privacy is undermined by the fact that consumers act in privacy-diminishing

          ways in practice. Understanding this phenomenon in terms of consent pathologies

          reveals that consumers are not hypocrites who say one thing but do another that

          reveals their true preferences. On the contrary, the pathologies of consent show how

          consumers can be nudged and manipulated by powerful companies against their

          actual interests, and this phenomenon is easier when the legal regime that purports

          to protect consumers falls far from the gold standard [of knowing and voluntary

          consent freely given].91

          69.    As relevant here, Professor Solove explains in an influential paper that this

burdensome system of what he calls “privacy self-management” fails because of several problems.

First, he explains, that “empirical and social science research demonstrates that there are severe
cognitive problems that undermine privacy self-management. These cognitive problems impair

individuals’ ability to make informed, rational choices about the costs and benefits of consenting

to the collection, use, and disclosure of their personal data.” Moreover, many privacy harms are

the result of an aggregation of pieces of data over a period of time by different entities. It is virtually

impossible for people to weigh the costs and benefits of revealing information or permitting its use




90
     See Daniel J. Solove, The Myth of the Privacy Paradox, 89 GEO. WASH. L. REV. 1 (2021).
91
     See Richards & Hartzog, The Pathologies of Digital Consent, supra, at 1465.

                                                    31
      Case 4:21-cv-02155-YGR          Document 617-7         Filed 11/29/23      Page 35 of 45




or transfer without an understanding of the potential downstream uses, further limiting the

effectiveness of the privacy self-management framework.”92

          70.    The fallacy of the so-called “privacy paradox” and the failure of the “notice and

choice” system is not just the consensus of privacy scholars but the position of senior federal

regulators. As the Director of the FTC’s Bureau of Consumer Protection recently explained in an

interview with his alma mater Harvard Law School, “[s]ince the Reagan era, we’ve had a consumer

protection paradigm that I’d describe as ‘notice and choice.’ In short, this has meant that so long

as companies disclose somewhere how they’re handling consumers’ money or their data,

consumers do not need protection. I’m not sure that was ever true, but it’s certainly not true in

today’s digital economy. Consider privacy. It’s a fantasy that consumers can be put on ‘notice’ of

how their data is being handled by reading thousands of pages of dense privacy policies. And it’s

a fiction that they can somehow exercise ‘choice,’ when that would essentially require them to opt

out of the digital economy.”93

          71.    Yet the Deal Report doubles down on the “privacy paradox,” and argues that “[o]ne

of the most revealing sources about individual valuation of data privacy are user choices to forego

protections (such as those offered by CCPA) that give users the opt out of sharing their information

with third parties for advertising purposes.”94 It further suggests that because “at most 5 percent of

users” ever use their opt-out rights under CCPA, that consumers really do not care about privacy.
This is a misleading claim that, once again, relies on simplistic notions of rational choice

consumers and ignores both the actual circumstances consumers face and the interdisciplinary

privacy literature explaining all of this (as well as a key feature of the CCPA, which requires


92
  Daniel J. Solove, Privacy Self-Management and the Consent Dilemma, 126 HARV. L. REV. 1880,
1880-81 (2013).
93
   Olivia Klein, Harvard Law School Alumni Profiles: ‘Even My Most Stressful Days are Deeply
Fulfilling,’ Nov. 3, 2023, available at https://hls.harvard.edu/clinic-stories/even-my-most-
stressful-days-are-deeply-fulfilling/ (Interview with Samuel Levine, FTC Director of the Bureau
of Consumer Protection).
94
     Deal Rep. at ¶ 123.

                                                 32
     Case 4:21-cv-02155-YGR          Document 617-7         Filed 11/29/23      Page 36 of 45




business to tell consumers, in the first instance, about the categories of personal information sold

or shared about them95). So, to take the example of CCPA opt-outs, for a consumer to choose to

tell a web site not to sell their data, they must (a) go to a website, (b) read the privacy policy in

order to understand what data is being sold, and (c) find and use the opt-out, (d) for every website

that they use. Such a burden on consumers, though well-meaning, is overwhelming in practice,

part of the phenomenon that Professor Solove has called “Privacy-Self Management,96 and

contingent on what Professor Hartzog and I have called “the pathologies of consent.”97 Mr. Deal’s

claims are symptomatic of industry privacy practices under “notice and choice” that place

overwhelming and impossible burdens on consumers and then blame them when they fail to be

super-human.

       72.     While groundbreaking in many respects, the CCPA has been criticized by privacy

scholars for requiring that under-informed and over-burdened consumers take a series of

affirmative steps to protect their privacy rather than by making consumer protection automatic (as




95
   The California Attorney General’ recent enforcement efforts against Sephora, an online retailer,
make plain that the CCPA requires that if companies make consumer personal information
available to third parties and receive a benefit from the arrangement—such as in the form of ads
targeting specific consumers—they are deemed to be “selling” consumer personal information
under the law. This in turn triggers basic obligations, including that the business tell consumers it
is selling their information and allow consumers to opt out of those sales. See Complaint, People
v. Sephora USA, Inc., San Francisco Superior Court Case No. 601380, available at
https://oag.ca.gov/news/press-releases/attorney-general-bonta-announces-settlement-sephora-
part-ongoing-enforcement. According to the California AG, Sephora failed to make these required
disclosures or give consumers the material facts about the categories of information it sold or
shared about consumers, merely noting in its privacy policy that it “share[d] personal information”
and provided consumers with a link to see what was shared. Upon clicking the link, Sephora
expressly told consumers “that we do not sell personal information.” See id at ¶¶ 2-4.
96
  Daniel J. Solove, Privacy Self-Management and the Consent Dilemma, 126 HARV. L. REV. 1880
(2013). See also Ari Ezra Waldman, Cognitive Biases, Dark Patterns, and the “Privacy Paradox,”
31 CURR. ISS. IN PSYCH. 2020.
97
  See also Woodrow Hartzog, PRIVACY’S BLUEPRINT: THE BATTLE TO CONTROL THE DESIGN OF
NEW TECHNOLOGIES (Harvard University Press 2018).

                                                 33
       Case 4:21-cv-02155-YGR           Document 617-7        Filed 11/29/23      Page 37 of 45




it is, for example, in the protection of food and drink safety).98 Thus, one obvious explanation for

low CCPA exercise rates (or cookie opt-outs, or the use of virtual private networks, or ad blockers,

or other tools) is that there are just too many buttons to push and boxes to tick in order to exercise

rights that consumers may only poorly understand and which may have little practical effect in

practice. Yet interestingly, when such practices are simplified for consumers, they do exercise them.

          73.     Third, the Deal Report asserts that people want to share and that advertising confers

a benefit upon them, asserting that “[r]esearch has repeatedly shown that a large share of

consumers finds [sic] personalized ads to be helpful and/or beneficial.”99 But this entire argument

is beside the point and irrelevant. This case, as I understand it, is not about whether

“personalization” can be helpful or whether advertising is sometimes beneficial in the abstract.

This case is about whether there is a violation of the foundational societal norm of privacy when

Google promises that it will not share personal data with third parties and then does precisely the

opposite – sharing and selling a vast amount of personal information a vast number of times of day

about its account holders. From this perspective, the hypotheses, surveys, and other arguments

about “targeted advertising” in the abstract marshalled by the Deal Report100 are not responsive to

the facts and issues of this case and are no more than a distraction.

          C.      Google’s Corporate Witness, Suneeti Vakharia, Agrees With My View That
                  Google Does Not Disclose Google’s RTB Auctions To Its Account Holders Or
                  Provide Them With Any Mechanism To Agree To Having Their Personal
                  Information Shared Or Sold In RTB
          74.     As noted in the introductory section of this rebuttal report, I was asked by Counsel

to review a September 29, 2023 declaration of the current Director of Google’s Product

Management on the Trust, Transparency & Consent team, Suneeti Vakharia,101 that was submitted

98
   In addition to the other sources cited in this section, see Ari Ezra Waldman, Privacy’s Rights
Trap, 117 NW. U. L. REV. 88, 91 (2022) (explaining how “people are, for the most part, incapable
of exercising their individual rights” to opt out of privacy practices they dislike).
99
     Deal Report ¶ 124.
100
      Deal Report ¶¶ 124-30.
101
      Vakharia Decl. at ¶ 1.

                                                   34
       Case 4:21-cv-02155-YGR         Document 617-7         Filed 11/29/23      Page 38 of 45




to the Court by Google well after the date of my expert report. That declaration purports to explain

“various disclosures that Google makes available to Google Account holders about the data

collection and sharing processes that I understand to be at issue in this case.”102

           75.    Some weeks after this submission, I understand that Ms. Vakharia was deposed –

both with respect to her declaration and as a Google corporate witness under Rule 30(b)(6) of the

Federal Rules of Civil Procedure – on November 15, 2023. Having now read the transcript of Ms.

Vakharia’s deposition, and gleaning from that record a number of areas in which Ms. Vakharia

backs away from the statements in her declaration, I will keep my response to Ms. Vakharia in this

rebuttal relatively brief.

           76.    Although put forward by Google as its corporate representative, Ms. Vakharia

showed little-to-no familiarity with the issues presented by plaintiffs’ complaint, or the Google

RTB system at her deposition. Ms. Vakharia testified that she: (a) has not seen or read plaintiffs’

complaint103; (b) is “not familiar”” with the Google RTB system104; and (c) does not know for sure

what Google is sharing [with third party companies] in the Google real-time bidding auction.105

The entire source of her understanding of the RTB auction was a declaration submitted by Google’s

witness, Gleen Berntson. She did not read his subsequent deposition testimony or any other

materials relating to the RTB auction.106

           77.    Ms. Vakharia was, however, forthright in her agreement with two of the expert
opinions I express in the Richards Report: (1) that protection of fundamental privacy rights and

historical privacy norms require, at a minimum, disclosure about what information is collected

102
      Id. at 4.
103
      Vakharia Dep. at 87:20-88:7.
104
      Id. at 94:17-96:4.
105
   Id. at 88:19-89:11; see also 49:22-24 (she does not know what a vertical is in the context of
RTB); 56:14-20 (is not aware of anyone at Google being tasked with focusing on transparency to
users with respect to RTB); 226:16-23 (she does not know what identifiers are included in bid
requests) 226:25-227:18 (she has never read an RTB protocol buffer); 227:20-228:2 (she has not
spoken with a Google engineer to determine what information is provided in RTB bid requests).
106
      Id. at 101:1-23.

                                                 35
       Case 4:21-cv-02155-YGR            Document 617-7        Filed 11/29/23      Page 39 of 45




about or associated with US Google account holders and offered for sale by Google to RTB

participants107; and (2) that there is no evidence from which a trier of fact could conclude that

Google in fact discloses the Google RTB system, or the sharing of account holder personal

information to hundreds of entities outside of Google through the Google RTB system, to its

account holders.108

          78.       As to my first opinion, that protection of fundamental privacy rights and historical

societal privacy norms require, at a minimum, disclosure of the data practice at issue in order to

establish consumer consent, Ms. Vakharia testified for Google:

          Q. In your work at Google, can somebody consent to a data collection practice that

             is not disclosed to them?

          A. I don’t think we would ask someone to consent to something that is not

                disclosed to them. We would disclose what they need to consent to. We share

                information, and that’s what they’re making agreement to.

          Q. So disclosure is critical to consent, correct?

          A. Right. We’re sharing information with them. And I don’t know if ‘disclosure’

                has a legal definition, but sharing information. We would share the appropriate

                information for them to consent to.109

          79.      With respect to my second opinion, that there is no evidence of disclosure to
account holders of the Google RTB system, Ms. Vakharia, on behalf of Google, made repeatedly

clear that Google’s Terms of Service, Privacy Policies and related disclosures do not disclose the

existence of Google RTB, its extensive reach, or the sharing and sale of Google account holder

personal with and to hundreds of outside companies in Google RTB. Here are some notable




107
      See Richards Rep. at ¶¶ 118-128, 129,
108
      See id. at ¶ 135.
109
      Vakharia Dep. at 62:18-63:7 (emphasis mine).

                                                    36
       Case 4:21-cv-02155-YGR            Document 617-7       Filed 11/29/23      Page 40 of 45




excerpts from Ms. Vakharia’s deposition as a corporate representative of Google (excluding

counsel’s objections) on this point:

          Q. Are you aware of any projects that were user facing that describe the real-time

          bidding auction to users?

          A. No.110

                                                   ∞

          Q. Were you aware of any projects that would explain to users what information

          was being shared about them in the real-time bidding auctions?

          A. I’m not familiar with any specific projects related to RTB in general. At any

          time.111

                                                   ∞

          Q. Does Google offer users any opportunity to agree to sharing their information in

          the real-time bidding auction?

          A. Users provide their agreement to the creation of their account, which includes

          the reference to the terms of service and the privacy policies for the collection and

          use of whatever the specified purposes are, depending on their settings. There’s

          nothing referencing RTB specifically.112

                                                   ∞
          Q. Does Google say anywhere in any of the disclosures that Google might sell their

          information to anyone?

          A. No, it does not state that it might sell anyone’s information.113

                                                   ∞



110
      Id. at 49:15-18
111
      Id. at 49:25-50:9
112
      Id. at 294:6-18 (emphasis mine).
113
      Id. at 274:22-275:8

                                                   37
       Case 4:21-cv-02155-YGR             Document 617-7      Filed 11/29/23          Page 41 of 45




          Q. Do any of these disclosures say that Google does sell or has sold class members’

          information to third parties?

          A. No, these disclosures do not communicate the sale of any user’s

          information.114

                                                   ∞

          Q. In terms of the TOS [Terms of Service] and all of the disclosures we’ve

          discussed today, you’re not aware of any disclosures to Google account holders

          about how the real-time biding auction functions, right?

          A. I am not familiar with any.115


          80.    Having conceded, on behalf of her company, that Google’s Terms of Service,

Privacy Policies and related disclosures do not expressly disclose Google RTB, or that Google

shares and sells account holder personal information to hundreds of outside companies using

Google RTB, Ms. Vakharia suggests it is enough for Google to say that “Google collects data when

users interact with its services,” that “Google uses ‘your interests’ to show personalized ads,

including on sites that partner with Google to show ads,” or that Google “may share non-personally

identifiable information publicly and with our partners – like publishers, advertisers, developers

or rights holders.116 A trier of fact ultimately will decide whether this is right.

          81.    It is my expert opinion, however, that Google’s representations of what it does itself
or with its “business partners” are irrelevant to the issue of consumers’ reasonable expectations of

privacy when it comes to Google RTB (which, as Google admits, plainly is not ever disclosed).

Based on my experience as a privacy and data privacy scholar, it is my opinion that a reasonable

consumer would not consider Facebook/Meta, Amazon, Xandr, or NBC Universal, or Chinese

companies like Baidu and BiddingX, or Russian companies like WapStart, Yandex, and Hybrid.ai,

114
      Id. at 275:10-15 (emphasis mine).
115
      Id. at 295:6-11 (emphasis mine).
116
      See Vakharia Decl. (ECF 592-5) ¶ 14.

                                                   38
       Case 4:21-cv-02155-YGR          Document 617-7         Filed 11/29/23       Page 42 of 45




or, indeed the hundreds of other companies that participate in Google RTB117, to be “partners” in

Google’s business. Indeed, Google affirmatively and expressly disclaims any legal “partnership”

with its Google RTB participants in its contracts with these entities.118


          D.     Third-Party Website Information Submitted By Google Does Not Disclose
                 RTB Nor Seek Consent For Google To Engage In RTB
          82.    The final issue that I will address in the report is the claim that it is possible that

consumers learned about Google RTB’s data-sharing practices from third-party sites that

mentioned or allude to RTB. Thus, the Hanssens Report remarks that I “ignore[] disclosures that
Google account holders can encounter when they visit publisher websites. These disclosures can

include extensive details about the information that publishers share with Google for the purposes

of advertising.”119

          83.    First, as with Google’s Terms of Service, Privacy Policies and related disclosures,

none of the third-party websites that Mr. Hanzarik has gathered actually disclose the Google RTB

auction, discuss what Google’s role in Google RTB is, what specific types of information about

Google account holders Google shares or sells to publisher websites (and hundreds of others) in

Google RTB, the type and extent of persistent identifiers that are shared in Google RTB, or the

sheer scope of Google RTB. In fact, the words “Google RTB” or “Google real-time-bidding” do

not appear anywhere in the materials Mr. Hanzarik puts before the Court. Prof. Hanssen’s

speculation is not supported by any of the evidence introduced by Mr. Hanzarik.

          84.    Second, I note that all of the Hanzarik exhibits are screen shots taken in July to late

September of this year – and thus do not represent what any Google account holder (or anyone




117
      Shafiq Rep. ¶¶ 38-39.
118
   See, e.g., Pritzker Reply Decl., Ex.50 (XANDR-RTB-00000005 (excerpt); GOOG-HEWT-
00041850 (excerpt); and NBCU_HEW_00001 (excerpt)).
119
      Hanssens Report ¶ 81.

                                                   39
      Case 4:21-cv-02155-YGR          Document 617-7         Filed 11/29/23      Page 43 of 45




else, for that matter) may have had access to over the seven years between June 2016 and the end

of 2022.120

        85.    Third, the third-party websites, in my mind, are irrelevant to the core question of

what a Google Account Holder’s reasonable privacy expectations are with respect to Google’s

practices. In my experience as a privacy expert, if a reasonable Google Account Holder is told in

her contract with Google that “we don’t sell your personal information,” she would never scour

third-party non-Google websites to see if Google might have been lying. As I have explored in my

academic work,121 it is already hard enough for consumers to understand and consent to what

companies are doing with their data that a reasonable consumer should be able to rely on an express

promise by a company that it does not sell their personal information without engaging in

independent fact-checking and cross-referencing. To suggest otherwise is, in my expert opinion,

not merely unreasonable but frankly laughable.

        86.    Moreover, as a practical matter, suggesting that over-burdened consumers

investigate (for example) other websites’ privacy policies in order to triangulate those dense legal

texts to shed light on the privacy policies of Google is once again to insist that consumers undertake

an impossible task.122 Evidence from the privacy literature confirms this. For example, one famous

study found that merely reading the privacy policies the average consumer would encounter in a

year would take them 76 working days of non-stop reading.123 Another study of mobile privacy


120
    Mr. Hanzarik likewise made no effort to discern when the third-party website notices he was
hired to record were first published or made available to viewers via the web. See Hanzarik Dep.
at 57:11-23 (testifying that all exhibits were captured in July to late September 2023 and there was
no attempt to look at any older versions of webpages or policies).
121
  E.g., Neil Richards & Woodrow Hartzog, The Pathologies of Digital Consent, 96 WASH. U. L.
REV. 1461 (2019).
122
   It is equally implausible (and unreasonable) to require average US Google account holders to
scour PR Newswire, the BBC, the South African news, or various tech blogs to learn about Google
RTB and its impact on their data privacy rights, as Mr. Deal (Deal Rep. at ¶ 107) and Google’s
counsel (Somvichian Decl. at ¶ 56) suggest.
123
  Aleecia M. McDonald & Lorrie Faith Cranor, The Cost of Reading Privacy Policies, 4 I/S: J. L.
POL’Y INFO. SOC’Y 543 (2009).

                                                 40
       Case 4:21-cv-02155-YGR          Document 617-7       Filed 11/29/23      Page 44 of 45




policies found that average consumers could easily find themselves with 250,000 words of privacy

policies to read and that “for most people, this is an impossible task.”124 In this vein, it is worth

recalling the statement of the Director of the FTC’s Bureau of Consumer Protection that “[i]t’s a

fantasy that consumers can be put on ‘notice’ of how their data is being handled by reading

thousands of pages of dense privacy policies. And it’s a fiction that they can somehow exercise

‘choice,’ when that would essentially require them to opt out of the digital economy.”125 Yet

Google, its employees and its experts seem to be taking the position that it is not enough for

consumers to be held accountable for reading thousands of pages of dense and vague privacy

policies to make their decisions, but that they must then be required to cross-reference them to see

if there are disclosures relevant to other privacy policies that they might have read. Such an

obligation would seem to be impossible, both as a practical matter given the reasonable limits of

consumer attention and likely also as a mathematical one, given the finite number of hours in the

day.

          87.     In sum, given the overwhelming burdens already placed upon digital consumers, it

is unreasonable to expect Google account holders to rely on any more than the clear representations

made to them by Google that it will not sell their personal information, and any speculation about

whether Google account holders might have learned about Google RTB from other sources is no

more than that, particularly where the Hanssens Report could have—but did not—attempt to test
for (to my mind) such a highly implausible hypothesis.

                         Executed on November 29, 2023 in St. Louis, Missouri.




                                                       Neil Richards




124
    250,000 Words of App Terms and Conditions, Norwegian Consumer Council, May 24, 2016,
http://www.forbrukerradet.no/side/250000-words-of-app-terms-and-conditions.
125
      See reference at n. 93, supra.
                                                 41
Case 4:21-cv-02155-YGR         Document 617-7        Filed 11/29/23    Page 45 of 45




                                       Appendix A

                          Additional Case Materials Considered

Expert Report of Professor Dominique Hanssens in Support of Google LLC’s Opposition to
   Plaintiff’s Motion for Class Certification (Sealed ECF 584-5)

Expert Report of Bruce Deal in Support of Google LLC’s Opposition to Plaintiff’s Motion for
   Class Certification (Sealed ECF No. 584-8)

Declaration of Suneeti Vakharia in Support of Google LLC’s Opposition to Plaintiff’s Motion
   for Class Certification (Redacted ECF No. 592-4)

Declaration of Hunter Hanzarik Support of Google LLC’s Opposition to Plaintiff’s Motion for
   Class Certification (ECF No. 594)

Google LLC’s Daubert Motion to Exclude Plaintiffs’ Expert Neil Richards (ECF No. 582)

Transcript of October 31, 2023 deposition of Professor Dominique Hanssens

Transcript of October 24, 2023 deposition of Bruce Deal

Transcript of November 15, 2023 deposition of Suneeti Vakharia

Transcript of November 2, 2023 deposition of Hunter Hanzarik

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NBCU_HEW_00001




                                          42
